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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------- x
RICARDO DOLCINE,
                                                                     FIRST AMENDED
                                         Plaintiff,                  COMPLAINT
                           -against-                                 Jury Trial Demanded
CITY OF NEW YORK; Police Officer RICHARD                             17 CV 4835 (RWS)
HANSON; Police Officer KERIN DONOHUE;
Sergeant TOMEKA RUFFIN; Police Officer
CHRISTOPHER DERENZE; and JOHN and
JANE DOE 1 through 10,

                                         Defendants.
---------------------------------------------------------------- x

                                NATURE OF THE ACTION

        1.      This is an action to recover money damages and obtain equitable relief

arising out of the violation of plaintiff’s rights under the Constitution.

                               JURISDICTION AND VENUE

        2.      This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and

the Fourth and Fourteenth Amendments to the Constitution of the United States, as

well as Section 14-151 of the Administrative Code of the City of New York.

        3.      The jurisdiction of this Court is predicated upon 28 U.S.C. §§ 1331,

1343 and 1367(a).
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       4.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 (b) and

(c).

       5.     This Court has supplemental jurisdiction over the New York City claims

pursuant to 28 U.S.C. § 1367.

                                      JURY DEMAND

       6.     Plaintiff demands a trial by jury in this action.

                                        PARTIES

       7.     Plaintiff Ricardo Dolcine is a resident of New York County in the City

and State of New York.

       8.     Defendant City of New York is a municipal corporation organized under

the laws of the State of New York. It operates the NYPD, a department or agency of

defendant City of New York responsible for the appointment, training, supervision,

promotion and discipline of police officers and supervisory police officers, including

the individually named defendants herein.

       9.     The individual defendants, at all times relevant herein, were officers,

employees and agents of the NYPD. The individual defendants are sued in their

individual and official capacities.




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       10.     At all times relevant defendants John and Jane Doe 1 through 10 were

police officers, detectives or supervisors employed by the NYPD. Plaintiff does not

know the real names and shield numbers of defendants John and Jane Doe 1 through

10.

       11.     At all times relevant herein, defendants John and Jane Doe 1 through 10

were acting as agents, servants and employees of the City of New York and the

NYPD. Defendants John and Jane Doe 1 through 10 are sued in their individual and

official capacities.

       12.     At all times relevant herein, all individual defendants were acting under

color of state law.

                               STATEMENT OF FACTS

       13.     Plaintiff is a decorated military combat veteran and current NYPD

officer.

       14.     Prior to the events described herein, plaintiff had no disciplinary record

and bright career prospects.

       15.     Indeed, Mr. Dolcine was likely to reach detective or other superior rank.

       16.     Now, as a direct result of the defendants’ discriminatory and

unconstitutional conduct as described herein, Mr. Dolcine’s career has been totally


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derailed.

Stop 1

          17.   On or about February 20, 2016, at approximately 10:00 a.m., plaintiff,

who is African-American and was off-duty, was lawfully operating his Range Rover

SUV in Manhattan, heading northbound on Lenox Avenue in the vicinity of 145th

Street.

          18.   Plaintiff’s children, ages five and seven, were in the backseat of the

vehicle.

          19.   Defendants Hanson and Donohue pulled plaintiff over for no reason,

impermissibly targeting him because he was a Black man driving an expensive car.

          20.   Defendant Hanson approached plaintiff’s window and began yelling at

him to further lower the rear windows of the vehicle.

          21.   Plaintiff, who had his NYPD ID card on display for the officers,

complied with all directions and was extremely courteous and compliant.

          22.   Hanson nevertheless continued to yell and berate the plaintiff in front of

his children.

          23.   Hanson’s conduct during the seizure was reckless and deliberately

indifferent to the rights of plaintiff and his children.

          24.   Plaintiff asked the officers in sum and substance, what was going to

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happen next.

         25.   Without answering plaintiff, the officers walked away.

         26.   As defendant Hanson passed plaintiff’s children’s window, he loudly

called plaintiff “a fucking asshole.”

         27.   This remark was highly offensive to plaintiff, who considers it a point of

honor to never curse in front of his children and had done nothing wrong.

         28.   Hanson’s behavior and profanity also traumatized plaintiff’s children.

         29.   Such conduct is not surprising from defendant Hanson, a known bad

apple.

         30.   For example, in Snead v. City of New York, 16 CV 9528 (AJN), a lawsuit

also pending in this district, defendant Hanson is alleged to have directly participated

in egregious constitutional violations, including chaining the female plaintiff to a wall

for hours, preventing her from using the restroom until she urinated on herself.

         31.   Ms. Snead also alleges that Hanson laughed at her predicament and

made disparaging comments about her weight. Ms. Snead, like plaintiff Ricard

Dolcine, is also African American.

Stop 2

         32.   Mr. Dolcine next encountered defendant Hanson on March 4, 2016,

while driving southbound in his Range Rover on Lenox Avenue in Manhattan.

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       33.    Plaintiff was again pulled over by defendants Hanson and Donohue.

       34.    Like the first stop, Hanson quickly became irate and verbally abusive to

plaintiff without any justification.

       35.    Despite plaintiff’s calm demeanor and compliance, defendants Donohue

and Hanson called for a sergeant to come to the scene.

       36.    Defendant Sergeant Ruffin arrived on scene, spoke with defendants

Donohue and Hanson and then, without speaking to plaintiff, ordered him to the

32nd Precinct.

       37.    After arriving at the precinct, plaintiff was approached by defendant

Derenze who falsely represented to Mr. Dolcine that he was a union delegate

representing plaintiff’s interests.

       38.    Believing that Derenze was acting on his behalf and as a proper delegate,

Mr. Dolcine candidly related the entirety of the events regarding the two stops.

       39.    Plaintiff described how defendant Hanson became belligerent on both

occasions, called him a “fucking asshole” in front of his children and was generally

abusive to plaintiff, expecting that Derenze would facilitate the lodging of appropriate

charges against Hanson for his egregious abuses of authority in the two incidents.

       40.    Thereafter, while still at the 32nd Precinct, and without the benefit of

adequate counsel, plaintiff was subjected to an improper “GO-15” official interview.

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       41.     It was during the interview that plaintiff learned that defendant Derenze

was serving as a delegate and fiduciary for defendants Hanson and Donohue and was,

in fact, adverse to plaintiff.

       42.     Investigators questioned plaintiff with information that they could have

only obtained through Mr. Dolcine’s conversation with defendant Derenze moments

earlier, which plaintiff reasonably understood to be privileged.

       43.     At the conclusion of the hearing on, Mr. Dolcine was ordered to turn

over his gun and shield and was placed on a thirty-day suspension. This was improper

and in violation of plaintiff’s right to due process.

       44.     Plaintiff was then improperly suspended for 15 days, which also violates

due process.

       45.     At the time plaintiff was placed on suspension, he had been on a

“detective track” and had already applied to the prestigious Special Victim’s Unit.

       46.     Following the suspension, plaintiff was, inter alia, placed on modified

duty, prohibited from obtaining overtime, moved out of his precinct and into Viper 8,

an assignment for troubled officers – and any possibility of him becoming a detective

was lost.

       47.     Plaintiff suffered additional damage as a result of defendants’ actions.

Plaintiff was deprived of his liberty, suffered emotional distress, mental anguish, fear,

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pain, anxiety, embarrassment, humiliation, damage to his reputation, lost wages, lost

future earnings, lost career opportunities and loss of advancement.

                                   FIRST CLAIM
                                 Bias-Based Profiling

      48.    Plaintiff repeats and realleges each and every allegation as if fully set forth

herein.

      49.    Defendants only targeted Mr. Dolcine because of his race, rather than

his behavior or other information linking him to suspected unlawful activity.

      50.    Thus, the defendant officers engaged in bias-based profiling in violation

of Section 14-151(c)(i) and (ii) of the Administrative Code of the City of New York.

      51.    Accordingly, plaintiff is entitled to injunctive and declaratory relief,

along with reasonable attorney’s fees and costs.

                                SECOND CLAIM
                             Deprivation of Due Process

      52.    Plaintiff repeats and realleges each and every allegation as if fully set forth

herein.

      53.    Plaintiff Ricardo Dolcine has a liberty interest protected by the

constitution, in both his freedom and his career as a police officer, as well as a

property interest in his future earnings and the benefits of career advancement.

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      54.       Plaintiff was deprived of his liberty and property interests as a result of

insufficient process and the intentional acts of the defendants.

      55.       Specifically, Hanson and Donohue, under color of law, inter alia, lied to

investigators and an administrative judge and so tainted the proceedings as to deprive

Mr. Dolcine of his federally-protected right to due process.

      56.       Likewise, in giving Mr. Dolcine the false impression that he was acting

toward him in a fiduciary capacity, defendant Derenze deprived Mr. Dolcine of

constitutionally-adequate process.

      57.       As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages herein before alleged.

                                       THIRD CLAIM
                                     Supervisory Liability

      58.       Plaintiff repeats and realleges each and every allegation as if fully set forth

herein.

      59.       Defendant Ruffin and other unidentified supervisors:

          (i) personally participated in the violation of plaintiff’s rights;

      (ii) were aware that plaintiff’s rights were being violated but failed to remedy

      the wrong;


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       (iii) created a policy or custom under which unconstitutional practices occurred

       or allowed the continuance of such a policy or custom;

       (iv) were grossly negligent in the supervision of their subordinates; and

       (v) were deliberately to the rights of Mr. Dolcine.

       60.     Accordingly, the supervisory defendants are liable for the deprivation of

plaintiff’s rights.

       61.     As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages hereinbefore alleged.

                                  FOURTH CLAIM
                          Violation of the Fourth Amendment

       62.     Plaintiff repeats and realleges each and every allegation as if fully set forth

herein.

       63.     Defendants violated the Fourth and Fourteenth Amendments because

they stopped and seized plaintiff without reasonable suspicion or probable cause.

       64.     As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages herein before alleged.




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                                    FIFTH CLAIM
                                        Monell

      65.    Plaintiff repeats and realleges each and every allegation as if fully set forth

herein.

      66.    The City of New York, and its policies, customs and practices, were the

moving force behind plaintiff’s constitutional deprivations.

      67.    As a matter of policy, the City of New York fosters an environment at

the precinct- and borough-levels that allow NYPD officers to falsely accuse innocent

parties of wrongdoing, as happened in this case.

      68.    The City, as a matter of policy, fails to appropriately train its union

delegates in their disclosure and other constitutional obligations.

      69.    As a matter of policy, the City failed to supervise, train and discipline

Officer Hanson even though he is known to be a problem officer.

      70.    The NYPD has maintained such policies with deliberate indifference to

the rights of citizens such as Mr. Dolcine.

      71.    Actions taken under the color of law deprived plaintiff of his federally-

protected rights, as described above.




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      72.    The municipality’s policy with respect to its failure to train, discipline

and supervise defendant Hanson, and problem officers like him, proximately caused

the violation of Mr. Dolcine’s rights.

      73.    The constitutional injury was caused by the official policies of the

municipality in its training, supervision and discipline of problem officers like

defendant Hanson.

      74.    As a direct and proximate result of this unlawful conduct, plaintiff

sustained the damages hereinbefore alleged.




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                               PRAYER FOR RELIEF

       WHEREFORE, plaintiff respectfully requests judgment against defendants as

follows:

       (a) Compensatory damages against all defendants, jointly and severally;

       (b) Punitive damages against the individual defendants, jointly and severally;

       (c) An order requiring the City of New York to restore plaintiff to a detective-

track career path at NYPD (including, if necessary, sealing the outcome of the

disciplinary case);

       (d) Reasonable attorneys’ fees and costs pursuant to 28 U.S.C. § 1988; and

       (e) Such other and further relief as this Court deems just and proper.

Dated:        May 18, 2018
              New York, New York

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